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                           UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON             FiLEirl2FEB'l.409:55USDC-oRP

UNITED STATES OF AMERICA                            Case No.     · I Lf · C 1~~-

              v.                                    INDICTMENT

MICHAEL JOSEPH KELLY, and                           21 U.S.C. §§ 841(a)(l); (b)(l)(B)(i); 846;
MARCUS WRIGHT KELLY                                 and 853

                      Defendants.

                              THE GRAND JURY CHARGES:

                                           COUNT I
                                       (Drug Conspiracy)

       Beginning about July 2013, and continuing to on or about November 21, 2013, in the

District of Oregon, and elsewhere, MICHAEL JOSEPH KELLY and MARCUS WRIGHT

KELLY, defendants herein, did knowingly and willfully combine, conspire, confederate and

agree with others both known and unknown to the Grand Jury, to knowingly' and intentionally

possess with the intent to distribute a mixture or substance containing a detectable amount of

heroin, a Schedule I controlled substance, in a quantity of one hundred grams or more, all in

violation ofTitle 21, United States Code, Sections 846, 841(a)(l) and (b)(l)(B)(i).

                                            COUNT2
                             (Possession with Intent to Distribute Heroin)

       Beginning about July 2013, and continuing to on or about November 21,2013, in the

District of Oregon, and elsewhere, MICHAEL JOSEPH KELLY and MARCUS WRIGHT

KELLY, defendants herein, did knowingly and intentionally possess with the intent to distribute a

mixture or substance containing a detectable amount of heroin, a Schedule I controlled substance,
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in a quantity of one hundred grams or more, all in violation of Title 21, United States Code,

Sections 84l(a)(l) and (b)(l)(B)(i).

                          CRIMINAL FORFEITURE ALLEGATION

       Upon conviction of one or more of the controlled substance offenses alleged herein

MICHAEL JOSEPH KELLY and MARCUS WRIGHT KELLY, defendants herein, shall

forfeit to the United States pursuant to Title 21, United States Code, Section 853, any property

constituting, or derived from, proceeds obtained, directly or indirectly, as a result of the said

violations and any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of the said violation.

       Dated this / J day of February 2014.

                                               A TRUE BILL.




Presented by:

S. AMANDA MARSHALL
United States Attorney
District of Oregon/




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